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IN THE UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF DELAWARE

Rod Shipping Ltd., *
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Plaintiff, CIVIL ACTION
VS. IN ADMIRALTY, Rule 9(h)
Caventine Shipping & Petroleum Co. Ltd.
Cavalier Energy LLC
Cavalier Shipping & Petroleum Pte Ltd
Defendants,
and

Cavalier Enterprise Inc.
Microsoft Corporation

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Garnishees.

ORDER GRANTING PLAINTIFF’S MOTION FOR
ORDER AUTHORIZING ISSUANCE
OF WRIT OF MARITIME GARNISHMENT

 

Upon consideration of the Verified Complaint filed by Plaintiff and the Court having
found that the conditions required by Supplemental Rule for Certain Admiralty and Maritime
Claims B exist, NOW, upon Plaintiff's motion, it is hereby,

ORDERED, that the Clerk of this Court is authorized to issue pursuant to Supplemental
Rule B, as detailed in the Verified Complaint, Process of Maritime Attachment and Garnishment
for all assets, cash, funds, credits, wire transfers, accounts, letters of credit, electronic fund
transfers, freights, sub-freights, charter hire, sub-charter hire, or any other tangible and/or
intangible assets belonging to, due, claimed by, being held for or on behalf of, or being
transferred for the benefit of Defendants Caventinc Shipping & Petroleum Co. Ltd.
(“Caventine”), Cavalier Energy LLC (“Cavalier Energy”) and/or Cavalier Shipping & Petroleum

Pte Ltd (“Cavalier Shipping”) including, but not limited to any such assets as may be in the
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possession, custody or control of, or being transferred through any garnishee within this District,
and said Order being equally applicable with respect to the issuance and service of additional
writs of maritime attachment and garnishment upon any garnishees in this District not named
herein, pursuant to Rule B of the Supplemental Rules for Certain Admiralty and Maritime
Claims of the Federal Rules of Civil Procedure; and it is further,

ORDERED, that any person claiming an interest in the property attached or garnished
pursuant to said Order shall, upon application to the Court, be entitled to a prompt hearing at
which the Plaintiff shall be required to show why the garnishment or attachment should not be
vacated or other relief granted; and it is further,

ORDERED, that supplemental or further writs of maritime attachment and garnishment
may be issued by the Clerk upon application without further Order of the Court; and it is further,

ORDERED, that following initial service of a writ of maritime attachment and
garnishment on any Garnishee, supplemental service of maritime attachment and garnishment
writs on that Garnishee and related papers may be made by way of facsimile transmission or
email to each such Garnishee and, it is further,

ORDERED, that service on any Garnishee as described above is deemed continuous
throughout the day from the time of such service through the opening of the Garnishee’s
business the next business day; and, it is further,

ORDERED, that pursuant to Federal Rule of Civil Procedure 5(b)(2)(D), each Garnishee
may consent, in writing, to accept service by any other means; and it is further,

ORDERED, that a copy of this Order be served with each said writ of maritime
attachment and garnishment; and, it is further,

ORDERED that to afford an opportunity for an expeditious hearing of any objections

which might be raised by Defendants, or any Garnishee, a hearing may be set by calling the case
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manager of the undersigned.

DONE AND ORDERED this 2d day of October, 2021.

(LG Om,

UNITED STATES DISTRICEJUDGE
